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COVID Cases Rise Sharply Among Kids as School Year Starts
Sept. 3, 2021




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                                              ( H E A LT H DAY )




FRIDAY, Sept. 3, 2021 (HealthDay News) -- As the school year gets underway across the United States, new data
shows that coronavirus cases among children are climbing.

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Since the pandemic began, children have represented 14.8% of total cases, but for the week ending Aug. 26, that
percentage jumped to 22.4%, according to the American Academy of Pediatrics.

While child COVID-19 cases declined in early summer, they have "increased exponentially" recently, with more than a
five-fold increase in the past month, according to the academy. Child cases went from about 38,000 the week ending
July 22 to more than 200,000 in the last week.

That rate was well above the average that has been seen throughout the pandemic, and the trend is concerning as the
Delta variant may pose greater danger to children, most of whom are not yet eligible for the COVID-19 vaccines.

The academy collected COVID-19 data from 49 states, New York City, Puerto Rico and Guam. Overall, the rate of child
COVID-19 cases as of Aug. 26 was 6,374 cases per 100,000 children in the population, according to the AAP.

Twenty states reported more than 8,000 cases per 100,000. Tennessee, South Carolina, Rhode Island, North Dakota,
Arkansas and Mississippi had the highest rates of child cases per 100,000 kids, according to the AAP data.

There was one bit of good news in the statistics.

"At this time, it appears that severe illness due to COVID-19 is uncommon among children," the AAP report concluded.
"However, there is an urgent need to collect more data on longer-term impacts of the pandemic on children, including
ways the virus may harm the long-term physical health of infected children, as well as its emotional and mental health
effects."




At this time, the U.S. Centers for Disease Control and Prevention recommends universal indoor masking by all
students, staff, teachers and visitors to K-12 schools -- regardless of vaccination status.

"I can tell you that most of the places where we're seeing surges and outbreaks are in places that are not
implementing our current guidance," CDC Director Dr. Rochelle Walensky said recently, adding that it's not
hospitalizations that are spiking, but number of cases, CBS News reported.
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Meanwhile, several school districts are taking things one step further than masking by requiring staff to get
vaccinated – including New York City, Chicago and all of California – as experts say one way to keep kids safe is for
the adults around them to be vaccinated, CBS News reported.

But the governors of Texas and Florida have threatened to punish districts that implement mask mandates in schools,
though many districts are defying their orders.

On the other side, the U.S. Department of Education announced it is investigating five states -- Iowa, Oklahoma, South
Carolina, Tennessee and Utah -- over concerns that their mask mandate bans could leave students with disabilities
and underlying health conditions more vulnerable to COVID-19.

"Masks save lives and reduce the transmission of COVID-19," Dr. Leslie Diaz, an infectious disease specialist at
Jupiter Medical Center in Florida, said Wednesday on CBSN.

"The science is there, masks work and we should utilize them," Diaz said. "Especially in the school district and in the
schools that are inundated now with all of the kids coming back and not doing virtual learning."

The science proves masks work in preventing the spread of COVID-19, she said.




"We are in a crisis... the reality is there every day of my life. I can't dismiss it," Diaz said. "Wearing masks has become
very relaxed behavior around here, and around the United States. It shouldn't be."

FDA Advisory Panel Set to Meet on Booster Shots

The U.S. Food and Drug Administration will hold a key advisory panel meeting on coronavirus booster shots on Sept.
17, a mere three days before the Biden administration plans to begin offering third shots for Americans.

While the public session could add clarity to what some feel has been a confusing decision-making process, it also
could fuel more controversy over the administration's plan.

Panel member Paul Offit, a vaccine expert at Children's Hospital of Philadelphia, has questioned whether boosters are
needed at this time because data indicates the vaccines still work well against severe COVID-19. But administration
officials have stressed that protection is waning.

Though the stated purpose of the meeting is to review booster data on the Pfizer vaccine, it will likely deal with
broader questions about booster shots, the Washington Post reported: Those include who should get booster shots
and when, and what is this country's obligation to other countries who are scrambling for first and second doses of
the vaccines.
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The panel's recommendations are not binding. But a split between the FDA's expert panel and agency officials could
make it more difficult for the agency to approve boosters.

If the committee concludes boosters are needed, it could strengthen the agency's hand in approving a third Pfizer
shot and later doing the same for boosters by Moderna and Johnson & Johnson, the Post said. The two-shot Pfizer
regimen received full FDA approval last week, while the Moderna and Johnson & Johnson vaccines are still given
under an emergency use authorization.




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Peter Marks, director of the FDA's Center for Biologics Evaluation and Research, told the Post that "a transparent,
thorough and objective review of the data by the FDA is critical so that the medical community and the public
continue to have confidence in the safety and effectiveness of COVID-19 vaccines."

Outside experts praised the scheduling of the meeting, saying it shows the agency is trying to stick to the normal
procedures on vaccines, despite the urgency caused by the highly transmissible Delta variant. The Biden
administration announced Aug. 18 that boosters would be available the week of Sept. 20 to most people fully
vaccinated eight months earlier, pending clearance from the FDA and the U.S. Centers for Disease Control and
Prevention. But critics said that typically the FDA and the CDC, and their advisers, would review data before decisions
were announced.

"It's a good sign that the FDA is trying to adhere to a regular process," said Jason Schwartz, an associate professor of
health policy and the history of medicine at the Yale School of Public Health. But he told the Post that the meeting
could be "awkward," with the administration receiving criticism for "a really messy sequence of events."

That argument was amplified Tuesday when news broke that two top vaccine officials would retire this fall. Marion
Gruber, who leads the Office of Vaccines Research and Review, will step down at the end of October. Philip Krause,
Gruber's deputy, is expected to leave the agency in November. The two have decades of experience in vaccines and
have helped steer the agency's efforts through a demanding period with the pandemic.
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People familiar with the decisions told the Post that Gruber has been talking about retiring for some time, but that
Krause's decision was more of a surprise. They said both officials were frustrated by what they saw as an
encroachment by the White House on the agency's ability to analyze data and make independent decisions. But they
also said they did not know whether that was the reason for the retirements, the Post added.

More information

The U.S. Centers for Disease Control and Prevention has more on COVID-19.

SOURCES: CBS News; Washington Post

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